 

wch Mwm@%-Fim@;mms%@emem 12 magedro@m)s/zo@el@ Pag§-DZ>H

s:g[_zzu_w]d xojr(au.zoxzy
(xe} qu) 'bsg ‘uvul[sz pgAeC[ ::>:)

lasunog uonelod.lo;) melsrssv

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gwm
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penuman A[[ng;oedsa>g{

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SUUZ *

'uo;mlap;suoo mci 105 no£ z[maql

'p;ns[dluoo sp rem pauppr am lange alep 2 mun peumo_fpe sq ecuma;uoo sums 3005 ‘1»;
haw am wm lsanbal £Hrg),oadsel 01 sap.red q;oq jo ;[eqaq uo 9mm 1 ‘A[Su;p;ooov 'g()gz ‘17[ army
man paumo_[pe uye$e gallo sem rem [eu;r.u;.xo sup mm uoguowz Alu 01 amos 1sn[ seq q ‘JQAQMOH
'g()()z ‘{g ABN &q p9101du10:) eq p1nom [e_m leu;urpo sup paumsse am 'p;»AlosQl sy esso [eu;muo
aql lptrn pea/ims £[1u9.r.mo s; lamar sup sg Meras;p ‘Heosl kern mop aug sV

wci §§ air

'g()oz ‘171 etmf 1932 snap 'e mun estes
sup up aouels_;uoo sums ‘u!'e 05:0[ gooz ‘Ig £zp\[ arp umo_[pe unog mg mm gsenbal &[[ng,loads;>l
01 Sop.nzd qJ,Oq 3;0 _;[P.qaq 110 alpha 1 'asec pacusxe_;al-az\oqe am 50 esua_;ap am 01 peu‘.`s`yss'e
mauriqu m’e"[ Al;:) 31on msN arp mm leslmog uop,mod.lo;_) luelsyssv ma ura 1

 

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